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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                           11/03/2021


 FABIOLA MERCADO,

                                Plaintiff,         ORDER SCHEDULING CASE MANAGEMENT
                                                             CONFERENCE
                    -against-
                                                           1:21-CV-07162(JFK)(KHP)

 PETSMART, LLC,

                                Defendant.

KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

        This case has been referred to me for general pretrial supervision purposes (Doc. No.

11). A Case Management Conference in this matter will be held on Monday, December 6, 2021

at 11:30 a.m. in Courtroom 17-D, United States Courthouse, 500 Pearl Street, New York, New

York.

SO ORDERED.

 Dated:    November 3, 2021
           New York, New York

                                                              KATHARINE H. PARKER
                                                          United States Magistrate Judge
